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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                 Case No. 1:16-cv-08637
 IN RE BROILER CHICKEN
 ANTITRUST LITIGATION                            Hon. Thomas M. Durkin




 This Document Relates to:

 Commercial and Institutional Indirect
 Purchaser Actions



     CORRECTED DECLARATION OF ERIC SCHACHTER IN SUPPORT OF
   COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR FINAL APPROVAL FOR FIRST ROUND SETTLEMENTS

       I, Eric Schachter, hereby declare and state as follows:

       1.      I am a Vice President with A.B. Data, Ltd. (“A.B. Data”). I am fully familiar with

the facts contained herein based upon my personal knowledge, and if called as a witness, could

and would testify competently thereto. I submit this declaration at the request of the Commercial

and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) in connection with the above-captioned

action (the “Action”).
       2.      As detailed in my previous Declaration of Eric Schachter in Support of Motion for

Approval of Class Notice Plan dated November 24, 2021 (ECF 5214) (the “Notice Declaration”),
and pursuant to the Court’s Order Granting Commercial and Institutional Indirect Purchaser

Plaintiffs’ Motion for Preliminary Approval of Class Notice Program for First Round of

Settlements dated December 2, 2021 (ECF 5234) (the “Notice Approval Order”), A.B. Data was

responsible for implementing the Court-approved Notice Plan.

       3.      As detailed in the Notice Declaration, the Notice Plan included: i) mailing the

Long-Form Notice and Claim Form (the “Notice Packet”) and Short-Form Notice to potential

Settlement Class Members; ii) publishing the Short-Form Notice via print and digital media; iii)


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advertising through digital banner ads on designated websites; iv) disseminating a news release to

announce the proposed Settlements; and v) establishing a case-specific website and a toll-free

telephone number to address potential Settlement Class Member inquiries.

                                 CONTENT OF THE NOTICE

         4.    The content of the Court-approved notice complies with the requirements of Rule

23(c)(2)(b). Both the Short-Form Notice and Long-Form Notice clearly and concisely explain in

plain English the nature of the Action and the terms of the Settlements. The notices provide a clear

description of who is a member of the Settlement Classes, and the binding effects of Class

membership. They also explain how to exclude oneself from the Settlement Classes, how to object

to the Settlement, and how to contact Co-Lead Counsel for the Settlement Classes.

         5.    The notices also identify for members of the Settlement Classes where to locate and
submit a Claim Form if they wished to receive money under the Settlements.

         6.    As I noted in my Notice Declaration, the notices inform members of the Settlement

Classes that the Settlement monies “will be distributed according to a Plan of Allocation1 where

Settlement Class Members will get a pro rata share of the funds based on their qualifying purchases

of Broilers made in Indirect Purchaser States.” See, e.g., Declaration of Eric Schachter in Support

of Motion for Approval of Class Notice Plan, Ex. C (ECF 5214-3) at 2 of 10.

         7.    The notices also inform Settlement Class Members regarding the attorneys’ fees,
costs, and incentive awards that would be sought by the class representatives and Co-Lead

Counsel. Importantly, the notices explain that they provide only a summary of the Settlements, and

that the Settlement Agreements, as well as other important documents related to the litigation, are

available online at the Settlement website (https://www.chickencommercialsettlement.com/).

                                       DIRECT NOTICE

         8.    The Court-approved Notice Plan related to the Settlements has been successfully

implemented.

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 The Notices also direct members of the Settlement Classes to the settlement website where the
CIIPPs set forth their plan of allocation.
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       9.      Notice was provided to potential Settlement Class Members consistent with the

Notice Plan approved by the Court, which included notice to potential members of the Settlement

Classes via direct mail notice, paid media, and online outreach.

       10.     As detailed in the Notice Declaration, A.B. Data worked extensively with CIIPPs

and their experts to utilize Settlement Class Member purchase data provided in connection with

extensive non-party discovery conducted from food service distributors in this Action. Over a

period of months, A.B. Data had numerous conference calls with CIIPPs and their experts, and

reviewed sample datasets to understand what Settlement Class Member data was available and

how best to utilize that data in the context of providing notice. As a result of these efforts, it was

determined that the data contained names and contact information for most Settlement Class

Members such that a robust direct notice campaign was feasible, and that the dataset also contained
relevant purchase information that would allow for the pre-population of Claim Forms that would

eliminate the need for Settlement Class Members to independently identify and document their

eligible purchases. In our experience, prepopulating the Claim Forms removes a significant burden

on class members to ascertain their purchases and participate in the claims process.

       11.     Using the dataset described above, A.B. Data was able to identify the name and last

known mailing address of 1,160,714 potential Settlement Class Members to use for direct notice.

Prior to commencing direct mail notice, A.B. Data updated the mailing addresses using the
National Change of Address (“NCOA”) system maintained by the United States Postal Service

(“USPS”) in an effort to improve deliverability rates.

       12.     Beginning on December 30, 2021, A.B. Data caused the Notice Packet to be mailed

via First-Class Mail, postage prepaid, to 689,810 potential Settlement Class Members whose last

known mailing address was in an Indirect Purchaser State. For 659,533 of these potential

Settlement Class Members, the corresponding non-party data provided usable purchase

information such that A.B. Data included the aggregate of the total purchase amounts in a pre-

populated field included within the Claim Form. A true and correct copy of the Notice Packet is
attached to this Declaration as Exhibit A.

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       13.     On December 30, 2021, A.B. Data caused the Short-Form Notice formatted as a

postcard (“Postcard Notice”) to be mailed via First-Class Mail, postage prepaid, to 470,904

potential Settlement Class Members whose last known mailing address was not in an Indirect

Purchaser State. These Settlement Class Members were sent the Short-Form Notice, instead of the

Notice Packet that included a Claim Form, to manage costs understanding it was likely these

Settlement Class Members were precluded from filing a claim for not making purchases in an

Indirect Purchaser State. A true and correct copy of the Postcard Notice is attached to this

Declaration as Exhibit B.

       14.     As of the date of this Declaration, 257,051 Postcard Notices and Notice Packets

(the “Settlement Notices”) have been returned by the USPS to A.B. Data as undeliverable as

addressed (“UAA”). Of these, 12 Settlement Notices included forwarding addresses provided by
the USPS, and they were promptly remailed. Of the 257,039 Settlement Notices that did not

include forwarding addresses from the USPS, A.B. Data identified updated addresses for 162,352

Settlement Notices using third-party information providers to which we subscribe and promptly

remailed the Settlement Notices to the updated mailing addresses.

                               PRINT AND DIGITAL MEDIA

       15.     To supplement direct notice efforts, A.B. Data effectuated print and digital

advertisements in several trade publications to reach potential Settlement Class Members in
industries that are likely to be purchasers of chicken for commercial meal preparation and to

managers responsible for food-related purchasing decisions very likely to include commercial and

institutional purchasers of Broilers. Beginning on January 10, 2022, A.B. Data caused the Short-

Form Notice to be placed in each of the following publications. A true and correct copy of the

Short-Form Notice as it appeared in each publication is attached as Exhibit C.

 Publication                                        Issue Date

 Nation’s Restaurant News                           January 25, 2022

 QSR                                                January 10, 2022


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 Progressive Grocer                                  January 18, 2022

 Supermarket News                                    January 25, 2022

 Convenience Store News                              January 18, 2022

       16.     Beginning on January 10, 2022, A.B. Data caused digital banner ads to appear on

the    following     trade    publication    websites:     csnews.com;      food-management.com;

foodservicedirector.com;     nrn.com;   progressivegrocer.com;      qsrmagazine.com;     restaurant-

hospitality.com; and supermarketnews.com. Targeted digital banner ads were also placed through

the Google Display Network and YouTube, targeting owners, managers, and staff in commercial

and institutional entities that purchase chicken for food preparation. Websites and applications that

include large percentages of the specific target audience were selected and programmatic buying was

utilized to ensure cost-efficient and effective placement of the banner ads. More than 20 million

digital impressions were generated during the banner ad campaign. A sample of these digital

banner ads is attached as Exhibit D.

                             DISSEMINATION OF NEWS RELEASE

       17.     On January 3, 2022, A.B. Data caused the Short-Form Notice to be disseminated

as a nationwide news release via the PR Newswire distribution service; which distributes to more

than 10,000 newsrooms, including print, broadcast, and digital media, across the United States. A

true and correct copy of the release is attached as Exhibit E.
                                            WEBSITE

       18.     On December 30, 2021, A.B. Data established a case-specific website,

www.chickencommercialsettlement.com, to assist potential Settlement Class Members in

understanding the terms of the Settlements and their rights under the Settlements. The website

provides, among other things, a summary of the case, all relevant documents including the

Complaint, the Settlement Agreements, the Preliminary Approval Orders, the Notice Approval

Order, important dates, pertinent updates concerning the litigation or the Settlement approval

process, and the functionality for the Claim Form to be completed and submitted online. On


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February 17, 2022, A.B. Data posted the Commercial and Institutional Indirect Purchaser

Plaintiffs’ Motion for Payment of Attorneys’ Fees; Reimbursement of Expenses; and Class

Representative Service Awards to this website. A. B. Data continues to maintain the case website.

And, as of April 1, 2022, the Settlement Website has had 34,677 unique visitors.

                                    TELEPHONE HELPLINE

        19.     On December 30, 2021, A.B. Data established a case-specific toll-free number, 1-

800-983-6533, with an interactive voice response (“IVR”) system and live operators. The

automated attendant answers calls and presents callers with a series of choices to hear prerecorded

information concerning the Settlements. If callers require further assistance, they have the option

of transferring their calls to a live operator during business hours. A.B. Data continues to maintain

the case-specific toll-free number. As of April 1, 2022, there have been 1,149 calls to the toll-free
number.

              EXCLUSION REQUESTS RECEIVED AND NO OBJECTIONS

        20.     The Settlement Notices provide that Settlement Class Members may request

exclusion by sending a written request to the Settlement Administrator that was postmarked by

March 2, 2022. As of the date of this declaration, A.B. Data has received 71 requests for exclusion

from the Settlement Class, all of which have been processed. This process included determining

the timeliness and validity of any requests for exclusion, identifying the entities that fell within the
scope of valid requests for exclusion, and assisting the parties in determining the opt-out

calculations. As a result of this process, we have compiled the list of entities that have validly

requested exclusion, and that list is attached hereto as Exhibit F.

        21.     The Settlement Notices also provided instructions for Settlement Class Members

to submit objections to or comments about any aspect of the Settlements. The instructions provided

that objections be filed directly with the Court, by mail, or in person, no later than March 2, 2022.

To date, A.B. Data has not received any objection.




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                                     CLAIMS RECEIVED

       22.     The deadline for Settlement Class Members to submit a claim was March 2, 2022.

Throughout the claim period, A.B. Data received numerous inquiries from potential Settlement

Class Members seeking guidance on completing their claims, and in some instances requesting

more time to identify and document additional relevant purchases. As a result, many Settlement

Class Members have submitted “placeholder” claims whereby the submitted claim includes only

a portion of the eligible purchases as the claimant indicated more time was needed to compile a

listing of their Settlement Class Period purchases and the required supporting documentation.

There are also many submitted claims from third-party filers and claim aggregators on behalf of

more than one Settlement Class Member. As a result, A.B. Data continues to initially process the

submitted claims to determine the exact number of Settlement Class Members who submitted
claims, the monetary value of the claims, and validity of the claims. A.B. Data also continues to

work with claimants who are still gathering their relevant purchase information to supplement their

claims. Once the claims have been fully processed, A.B. Data will begin its auditing process and

secondary reviews and work with claimants to notify them of any deficiencies or imperfections.

                                         CONCLUSION

       23.     It is my opinion, based on my individual expertise and experience and that of my

A.B. Data colleagues, that the Notice Plan described herein effectively reached potential
Settlement Class Members, delivered plain language notices designed to capture potential

Settlement Class Members’ attention, and provided them with the information in an informative

and easy to understand manner that is necessary to effectively understand their rights and options.

       24.     This Notice Plan delivered a calculated reach of over 80% and conforms to the

standards employed by A.B. Data in notification programs designed to reach potential class

members of settlement groups or classes that are national in scope and reach narrowly-defined

entities and demographic targets.

       25.     For these reasons, in my opinion, this Notice Plan satisfied the requirements of Rule
23 and due process.

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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this 11th day of April, 2022 in Milwaukee, Wisconsin.




                                                     Eric Schachter




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